      Douglas R. Ricks, OSB #044026
      Daniel C. Bonham, OSB #183104
      VANDEN BOS & CHAPMAN, LLP
      319 SW Washington St., Ste. 520
      Portland, OR 97204
      Telephone: 503-241-4869
      Fax: 503-241-3731

               Of Attorneys for Debtors-in-Possession



                             IN THE UNITED STATES BANKRUPTCY COURT

                                     FOR THE DISTRICT OF OREGON

       In re                                          Bankruptcy Case Nos.:

       PPV, Inc.                                      19-34517-dwh11 (Lead Case)
       and
       Bravo Environmental NW, Inc.                   19-34518-dwh11

                                                      Jointly Administered Under
                                                      Case No. 19-34517-dwh11

                                                      APPLICATION OF DEBTORS-IN-
                                                      POSSESSION FOR AUTHORITY TO
                       Debtors-in-Possession.         EMPLOY SPECIAL COUNSEL
                                                      (Conde T. Cox)

                                                   NOTICE

               If you oppose the proposed course of action or relief sought in this Application, you

      must file a written objection with the bankruptcy court no later than fourteen (14) days after

      the date listed in the certificate of service below. If you do not file an objection, the court

      may grant the Application without further notice or hearing. Your objection must set forth the

      specific grounds for objection and your relation to the case. The objection must be received

      by the clerk of court at 1050 SW 6th Avenue #700, Portland, OR 97204, by the deadline

      specified above or it may not be considered. You must also serve the objection on the



Page 1 of 4     APPLICATION OF DEBTORS-IN-POSSESSION FOR AUTHORITY TO                 VANDEN BOS & CHAPMAN, LLP
                                                                                                 Attorneys at Law
                EMPLOY SPECIAL COUNSEL (Conde T. Cox)                                   319 SW Washington Street, Suite 520
                                                                                           Portland, Oregon 97204-2690
                                                                                                  (503) 241-4869
                           Case 19-34517-dwh11       Doc 337     Filed 11/17/20
      Debtors-in-Possession, c/o Douglas R. Ricks, Vanden Bos & Chapman, LLP, 319 SW

      Washington Street, Suite 520, Portland, OR 97204, within that same time. If the court sets

      a hearing, you will receive a separate notice listing the hearing date, time, and other

      relevant information.

                                             APPLICATION

              Pursuant to 11 U.S.C. § 327, and Bankruptcy Rule 2014, PPV, Inc. ("PPV") and

      Bravo Environmental NW, Inc. ("Bravo") Debtors-in-Possession, (collectively “Debtors”)

      move this Court for entry of the proposed order, attached hereto as Exhibit 1 (“Proposed

      Order”), for authority to employ Conde T. Cox, 1050 SW 6th Ave. Ste. 1100, Portland, OR

      97204 (the “Professional”), an attorney duly admitted to practice in this Court, as Debtors’

      special counsel to assist Debtors’ court-appointed counsel, Vanden Bos & Chapman, LLP,

      to represent and advise the Debtors for Debtors-in-Possession under Chapter 11 of the

      Bankruptcy Code regarding the following adversary proceedings: Bravo Environmental NW,

      Inc. v. Leonite Capital LLC, Adv. Pro. No. 20-03083-dwh; and Bravo Environmental NW,

      Inc., et al., v. Bellridge Capital, LP, Adv. No. 20-03050-dwh (collectively the “Adversary

      Proceedings”), Debtors represent:

              1.    On December 12, 2019, Debtors filed petitions under Chapter 11 of the United

      States Bankruptcy Code.

              2.    Debtors wish to employ the Professional as Debtors’ special counsel in the

      Adversary Proceedings.

              3.    Debtors have selected Professional for the reason that Professional has

      substantial experience in the areas of law relevant to the Adversary Proceedings.




Page 2 of 4    APPLICATION OF DEBTORS-IN-POSSESSION FOR AUTHORITY TO              VANDEN BOS & CHAPMAN, LLP
                                                                                             Attorneys at Law
               EMPLOY SPECIAL COUNSEL (Conde T. Cox)                                319 SW Washington Street, Suite 520
                                                                                       Portland, Oregon 97204-2690
                                                                                              (503) 241-4869
                         Case 19-34517-dwh11       Doc 337     Filed 11/17/20
              4.    To the best of Debtors’ knowledge, the Professional has no connection with

      the creditors or any other adverse party or its attorneys, except as disclosed in the Rule

      2014 Verified Statement on file herein.

              5.    To the best of Debtors’ knowledge, the Professional represents no interest

      adverse to Debtors, except as disclosed in the Rule 2014 Verified Statement on file herein.

              6.    The proposed rate of compensation, subject to final court approval, is the

      customary, hourly rates in effect when services are performed by the attorneys, legal

      assistants and staff who provide services to the Debtor-in-Possession. The proposed terms

      of employment are as set forth in the Engagement Agreement, a copy of which is attached

      as Exhibit A which has been executed by the Debtors and the Professional. The current

      hourly rates for the Professional are as follows:

                              Professional                            Hourly Rate
               Conde T. Cox (Attorney)                                   $475
               Patricia Bowcock (Legal Assistant)                        $100

      These hourly rates are subject to periodic adjustment to reflect economic conditions and

      increased experience and expertise.

              7.    Attached as Exhibit 2 to this Application is Professional’s curricula vitae which

      shows the qualifications of the Professional to perform the services required to be

      performed on behalf of the Debtors.

              8.    Debtors, through counsel, approached Professional in relation to the proposed

      representation as special counsel in the Adversary Proceedings on October 28, 2020, and

      the Professional intends to bill from that date in future fee applications.

              9.    As of the filing of this Application, Professional has spent less than 4 hours of

      billable time associated with this matter.



Page 3 of 4    APPLICATION OF DEBTORS-IN-POSSESSION FOR AUTHORITY TO                VANDEN BOS & CHAPMAN, LLP
                                                                                               Attorneys at Law
               EMPLOY SPECIAL COUNSEL (Conde T. Cox)                                  319 SW Washington Street, Suite 520
                                                                                         Portland, Oregon 97204-2690
                                                                                                (503) 241-4869
                          Case 19-34517-dwh11        Doc 337    Filed 11/17/20
              WHEREFORE, Debtors pray:

              1.   Debtors be authorized to employ and appoint Professional as Debtors’ special

      counsel to assist Debtors’ court-appointed counsel, Vanden Bos & Chapman, LLP, under

      Chapter 11 of the Bankruptcy Code to represent and advise the Debtors regarding the

      above Adversary Proceedings.

              1.   Debtor further prays for approval of the Proposed Order and the terms and

      conditions of Professional's employment as set forth in the Engagement Agreement

      attached thereto as Exhibit A.

       DATED: November 17, 2020             VANDEN BOS & CHAPMAN, LLP



                                            By:/s/Douglas R. Ricks
                                              Douglas R. Ricks, OSB #044026
                                              Of Attorneys for Debtors-in-Possession




Page 4 of 4    APPLICATION OF DEBTORS-IN-POSSESSION FOR AUTHORITY TO         VANDEN BOS & CHAPMAN, LLP
                                                                                        Attorneys at Law
               EMPLOY SPECIAL COUNSEL (Conde T. Cox)                           319 SW Washington Street, Suite 520
                                                                                  Portland, Oregon 97204-2690
                                                                                         (503) 241-4869
                        Case 19-34517-dwh11     Doc 337    Filed 11/17/20
                            IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF OREGON

       In re                                       Bankruptcy Case Nos.:

       PPV, Inc.                                   19-34517-dwh11 (Lead Case)
       and
       Bravo Environmental NW, Inc.                19-34518-dwh11

                                                   Jointly Administered Under
                                                   Case No. 19-34517-dwh11

                                                   [PROPOSED] ORDER FOR THE
                                                   EMPLOYMENT OF SPECIAL COUNSEL
                      Debtors-in-Possession.       (Conde T. Cox)

               THIS MATTER having come before the court upon the application of Debtors-in-

      Possession, PPV, Inc. (“PPV”) and Bravo Environmental NW, Inc. (“Bravo”), (collectively

      “Debtors” or “Debtors-in-Possession”), praying for authority to employ and appoint the

      Conde T. Cox (the "Professional") as Debtors’ special counsel to assist Debtors’ counsel,

      Vanden Bos & Chapman, LLP, under Chapter 11 of the Bankruptcy Code to represent and

      advise the Debtors regarding the following adversary proceedings: Bravo Environmental

      NW, Inc. v. Leonite Capital LLC, Adv. Pro. No. 20-03083-dwh; and Bravo Environmental

Page 1 of 3     [PROPOSED] ORDER FOR THE EMPLOYMENT OF SPECIAL COUNSEL          VANDEN BOS & CHAPMAN, LLP
                                                                                           Attorneys at Law
                (Conde T. Cox)                                                    319 SW Washington Street, Suite 520
                                                                                     Portland, Oregon 97204-2690
EXHIBIT 1 - Page 1 of 7                                                                     (503) 241-4869

                          Case 19-34517-dwh11     Doc 337    Filed 11/17/20
      NW, Inc., et al., v. Bellridge Capital, LP, Adv. No. 20-03050-dwh (collectively the “Adversary

      Proceedings”), that the connections disclosed in the Rule 2014 Verified Statement of the

      Professional on file herein do not constitute adverse interests, that the Professional

      represents no interest adverse to the Debtors as Debtors-in-Possession herein on the

      matters upon which the Professional is to be engaged, or to the estate, (except as disclosed

      in the Rule 2014 Verified Statement on file herein), that Professional’s employment is

      necessary and would be in the best interest of the estate, and the time for filing an objection

      having expired and the Court being otherwise fully advised, it is hereby

              ORDERED that:

              1.    Debtors are authorized to employ the Professional to serve as Debtors’ special

      counsel to assist Debtors’ counsel, Vanden Bos & Chapman, LLP, under Chapter 11 of the

      Bankruptcy Code, to represent and advise the Debtors regarding the above referenced

      Adversary Proceedings on the terms and conditions of the employment of the Professional

      are set forth in the Engagement Agreement attached hereto as Exhibit A.

              2.    That compensation shall be set by the Court to be paid upon the

         Professional’s compliance with the procedures set forth in 11 U.S.C. §§330, and/or 331.

              3.    This Order shall be effective only if the Professional to which it applies does

      not hold or represent an interest adverse to the estate and is a "disinterested person" as

      defined by 11 U.S.C. §101(14).

                                                   ###




Page 2 of 3    [PROPOSED] ORDER FOR THE EMPLOYMENT OF SPECIAL COUNSEL             VANDEN BOS & CHAPMAN, LLP
                                                                                             Attorneys at Law
               (Conde T. Cox)                                                       319 SW Washington Street, Suite 520
                                                                                       Portland, Oregon 97204-2690
EXHIBIT 1 - Page 2 of 7                                                                       (503) 241-4869

                          Case 19-34517-dwh11      Doc 337     Filed 11/17/20
      PRESENTED BY:

       VANDEN BOS & CHAPMAN, LLP                             First Class Mail:

                                                             PPV, Inc.
       By:/s/Douglas R. Ricks                                Attn: Joseph J. Thuney
          Douglas R. Ricks, OSB #044026                      4927 NW Front Ave.
          Of Attorneys for Debtors-in-Possession             Portland, OR 97201

                                                             Bravo Environmental NW, Inc.
       LBR 9021-1 CERTIFICATION                              Attn: Joseph J. Thuney
       I certify that I have complied with the               4927 NW Front Ave.
       requirement of LBR 9021-1(a); Order was               Portland, OR 97201
       circulated with the Application.
                                                             Conde T. Cox
                                                             Law Office of Conde Cox
       By:/s/Douglas R. Ricks                                1050 SW 6th Ave. Ste. 1100
          Douglas R. Ricks, OSB #044026                      Portland, OR 97204
                                                             Electronic Mail:

                                                             The foregoing was served on all
                                                             CM/ECF participants through the
                                                             Court's Case Management/Electronic
                                                             Case File system




Page 3 of 3   [PROPOSED] ORDER FOR THE EMPLOYMENT OF SPECIAL COUNSEL             VANDEN BOS & CHAPMAN, LLP
                                                                                            Attorneys at Law
              (Conde T. Cox)                                                       319 SW Washington Street, Suite 520
                                                                                      Portland, Oregon 97204-2690
EXHIBIT 1 - Page 3 of 7                                                                      (503) 241-4869

                          Case 19-34517-dwh11      Doc 337    Filed 11/17/20
 Law Office of Conde Cox
      1050 SW Sixth Avenue, Suite 1100
      Portland, Oregon 97204
      (503) 535-0611
      conde@lawofficeofcondecox.com



                                        November 3, 2020

                                          Confidential Communication/Attorney Work Product
                                                         Via Email: daniel@vbcattorneys.com

    Mr. Joseph Thuney, President
    PPV, Inc. and Bravo Environmental NW, Inc.
    Care of Messrs. Christopher Coyle, Esq., Douglas Ricks, Esq., and Daniel Bonham, Esq.
    Vanden Bos & Chapman, Attorneys At Law

    Re: Terms of Professional Engagement:
    Special Counsel Representation of PPV, Inc. and Bravo Environmental NW, Inc.;
    Pending Adversary Matters:
        (i) PPV/Bravo v. Bellridge Capital, Adv. No. 20-3050-dwh; and
        (ii) Bravo v Leonite Capital, Adv 20-3083-dwh
    In Connection With PPV Inc. (“PPV”) and Bravo Environmental NW Inc., (“Bravo”),
    Jointly Administered Chapter 11 Bankruptcy Cases, United States Bankruptcy Court,
    District of Oregon, (“Oregon Bankruptcy Court”)

    Dear Mr. Thuney:

           As you are aware, I have been asked by your entities’ above-referenced Chapter 11
    bankruptcy counsel at Vanden Bos & Chapman to assist them as co-counsel in connection with
    the two above-captioned adversary matters involving voidable transaction claims asserted by
    PPV and Bravo as Plaintiffs against Defendants Bellridge Capital and Leonite Capital.

            Subject to my receipt of this engagement letter signed below by you and my receipt of a
    signed Order from the Oregon Bankruptcy Court approving my employment as special co-
    counsel, I will have been retained, nunc pro tunc to October 28, 2020, (which was the date on
    which I first devoted time to formal review of these matters), to assist Vanden Bos & Chapman
    in both adversary matters. This letter will set forth the terms of my engagement.

           1.     Scope of Services and Commencement of Services. Nunc pro tunc to
    October 28, 2020, PPV, Inc., (“PPV”), and Bravo Environmental NW, Inc., (“Bravo”), have
    has engaged me as special co-counsel in the two above-numbered adversary matters.
    My services and scope of representation will be solely as co-counsel to assist Vanden
    Bos & Chapman (“V-C”) in the two adversary matters. While V-C attorneys will
    continue as lead counsel in the two matters, I will make a formal appearance and assist
    them as appropriate and as requested by them from time to time in these two matters,


                                                                                           1|Page

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                        of 4 19-34517-dwh11         Doc 337     Filed 11/17/20
    until the claims asserted by the two jointly administered DIPs/Plaintiffs against
    Bellridge Capital and Leonite Capital are settled or otherwise concluded.

           2.     Staffing. I will personally provide my opinions to you and to V-C attorneys
    and I will appear in court and in various communications with opposing counsel, as special
    adversary matter bankruptcy court counsel under this engagement. My legal assistant,
    Patricia Bowcock, will also work on this case as reasonably necessary.

            3.    Fees. My hourly fee for this matter will be at my regular 2020 bankruptcy
    court counsel rate of $475 per hour. Time spent by my assistant, Ms. Patricia Bowcock,
    may in my discretion be billed to you at the rate of $100 per hour. I will not require in this
    matter that you post a refundable trust retainer. My future invoices will be paid by the
    jointly administered bankruptcy estates in accordance with court approved fees awarded
    to me as special counsel on an interim basis and on a final basis, consistent with the
    Bankruptcy Code, Federal Rules of Bankruptcy Procedure, and the Local Rules of the
    Oregon Bankruptcy Court.

           4.     Costs. PPV and Bravo will be responsible for payment of all costs and
    expenses that I reasonably incur under this engagement, as the Court may approve from
    time to time. These costs and disbursements may include, but are not limited to,
    photocopying and facsimile charges, court filing fees, PACER and other court-files access
    charges, travel expenses, delivery charges, postage, and ‘out of the ordinary’ computer
    research charges.

           5.     Billing Arrangements. Itemized statements will be sent to you as President of
    PPV and Bravo on a periodic basis and will be filed for court approval from time to time.
    Please notify me or Ms. Bowcock of my office promptly of any issues you may have
    regarding our invoices or regarding your payment. Otherwise, I reserve the right to
    terminate this engagement if this account becomes delinquent. I will keep you informed of
    the work I perform, and I will always attempt to explain to you any questions that you may
    have regarding my itemized invoices. If you ever have questions regarding my charges,
    please let me know immediately so that I may attempt to resolve any concerns fairly and
    without delay.

            6.     Attorneys’ Lien. As security for the payment of any amount that you may at
    any time owe me, and without prejudice to any other rights, recourse or remedies we may
    have, you hereby grant me a security interest in and lien upon any future additional
    retainer deposits or other property relating to this matter that now or at any time in the
    future is within my possession, custody or control. Americold also authorizes me to take
    advantage of any statutory or common law lien rights that I may have now or in the future
    to secure any future unpaid obligations.

           7.      Termination. You may choose, at any time, to terminate this engagement
    relationship, by delivering to me and to V-C attorneys and to the Oregon Bankruptcy Court
    a written notice of termination for any reason or for no reason. I also reserve the right to



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    terminate the engagement by delivering to you a written notice, by email or otherwise, if
    you fail to cooperate with me or instruct me to undertake unethical acts, as I may
    determine in my sole discretion. Once my engagement is terminated, I will have no
    obligation to inform you of due dates, subsequent developments or the like, or to maintain
    any documents or dockets relating to any matter, although unpaid fees and costs if any will
    remain due and payable. The terms of this letter agreement will survive any termination of
    this engagement. Any unpaid fees approved to be paid to me by the Court will be
    unaffected such termination.

            8.     Disposition of Files. My general policy is to destroy client files six years after
    the completion of a matter. I reserve the right to destroy any and all files in this matter,
    including any personal property in such files, if the files are not claimed and retrieved by
    you within six years after the completion of this engagement. If I decide to destroy any of
    your files prior to that time, I will first notify you in writing at least 30 days before the
    scheduled destruction date and you will then have the option to take possession of the files.

           9.     Understandings. You understand that any estimate that I might provide
    concerning fees or costs associated with this engagement is only an estimate based on
    preliminary information. You also understand that although I will provide opinions and
    professional services to the best of my ability, I cannot and have not made any guarantees
    regarding any final opinion or outcome in connection this matter.

           10.     Disputes. I appreciate the opportunity to assist you in this matter. If,
    however, you become dissatisfied for any reason with the services I perform or if you
    dispute any of my fees, costs or expenses, I encourage you to bring that dissatisfaction or
    dispute to my attention at the earliest possible time. In general, my fees or any question
    that any entity may have regarding them will be resolved by Order of the Oregon
    Bankruptcy Court in the pending jointly administered Chapter 11 cases for PPV and Bravo.

           If the terms set forth in this letter are satisfactory, please sign and date below and by
    return to me and to V-C a copy as a PDF attachment to email.

           I look forward to working with you.

           Thank you.

                                                Very truly yours,

                                                /s/ Conde T. Cox

                                                Conde T. Cox




                                                                                            3|Page

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    EXHIBIT A - Page 3Case
                        of 4 19-34517-dwh11         Doc 337     Filed 11/17/20
    ACCEPTED AND AGREED:


     ȀȀ 
    ______________________________________________________________
    Joseph Thuney, President
    PPV, Inc.
    Bravo Environmental, Inc.

                           ͳͳȀͳ͸ȀʹͲʹͲ
    Date of Signature: ________________________________________




    Cc:     Chris Coyle, Esq.
            Doug Ricks, Esq.
            Daniel Bonham, Esq.




                                                                                      4|Page

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                        of 4 19-34517-dwh11             Doc 337      Filed 11/17/20
   Condé Thompson Cox
   Education
   J. D., with honors, University of Texas at Austin, 1979
   B.A., with high honors, Phi Beta Kappa, Southern Methodist University, Dallas, Texas, 1976

   Peer-Review Ratings and Bar Memberships
   Member, Oregon State Bar and State Bar of Texas
   Member, Bar of the United States Supreme Court
   Member, Bar of the U.S. Courts of Appeal for the 4th, 5th, 9th, and 11th Circuits
   Member, Bankruptcy/District Courts, District of Oregon, Western & Southern Districts of Texas
   Peer-Review, “AV” Rated, Martindale-Hubbell (for over 30 years)
   Peer Review, Super Lawyer, Business Bankruptcy, 2015-2020
   Board Certified, Business Bankruptcy Law, Texas Board of Legal Specialization (1988)
   Lead Counsel in Over 2 Dozen Reported Cases in Federal Reporter and Bankruptcy Reporter
   Vice President and Member of Board of Directors, Federal Bar Association, Oregon Chapter
   Member, Local Rules Committee for the United States Bankruptcy Court, District of Oregon
   Member, Select Committee to Revise Local District Court Bankruptcy Procedure Rules
   Former Member, Executive Committee, OSB Debtor-Creditor Section

   Recent Bar Publications and Recent CLE Presentations
   Presenter, “Federal & State Responses to the Pandemic,” Oregon State Bar Debtor-Creditor
           Annual Meeting/CLE, Virtual/Portland, (jointly with Salem Attorney Erich Paetsch and
           Portland Attorney Chris Coyle), October, 2020
   Presenter, “Leases & Licenses In Bankruptcy,” Northwest Bankruptcy Institute, Oregon State Bar
           and Washington State Bar Association, Seattle (jointly with Seattle Attorneys John R.
           Knapp, Jr., and Brian Free), April, 2020
   Moderator, Panel Discussion of “The Use of A Bankruptcy Threat As A Means of Settling Civil
           Litigation,” Federal Bar Association-Oregon Chapter CLE Luncheon Series, Portland
           (jointly with Bankruptcy Judge David Hercher, and Portland Attorneys Howard Levine
           and David Foraker), February, 2020
   Presenter, “Introduction of Chief Bankruptcy Judge Trish M. Brown,” State of the Oregon
           Bankruptcy Courts, FBA-Oregon CLE Luncheon Series, Portland, March, 2019
   Author, “Bankruptcy Court Subject Matter Jurisdiction: Assessing the Limits of the Judicial
           Power of Article I Courts,” The Federal Lawyer Vol 66, Issue 1, (Federal Bar
           Association national magazine), January/February 2019
   Presenter, “Commercial Leases and Landlord Claims In Bankruptcy,” Oregon State Bar Debtor-
           Creditor Section Annual Meeting/CLE, Portland (jointly with Eugene Attorney Bradley
           Copeland), November 2018
   Author, “Bankruptcy Court Subject Matter Jurisdiction,” Federal Bar Association-Oregon
           Chapter Newsletter, Summer 2017
   Author, “Exceptions to the Rule of Absolute Priority in Chapter 11 Cases,” OSB Debtor-Creditor
           Section Newsletter, April, 2017
   Author, “Personal Jurisdiction Defense in Bankruptcy Court: No Such Thing,” Federal Bar
           Association-Oregon Chapter, Winter Newsletter, January 2017
   Presenter, “Tax Issues in Bankruptcy Cases,” State Bar of California/San Diego County Bar
           Association, 2012
   Author, “Solutions for Commonly Encountered Tax Problems for Distressed Businesses,” OSB
           Debtor-Creditor Section Newsletter, Winter 2011
   Presenter, “Real Estate Leases In Bankruptcy,” OSB Real Estate Section, Portland, 2011


                                                                                      1|Page

Exhibit 2 - Page 1 of 6
                    Case 19-34517-dwh11           Doc 337      Filed 11/17/20
   Employment History
   Present Position
   Law Office of Conde Cox, Portland, Oregon
            Highly experienced in all types of business litigation, including complex UCC litigation,
   voidable/fraudulent transfer litigation (on behalf of judgment creditors, asset transferees, and
   debtor/transferors), Lanham Act trademark infringement disputes, insider LLC buy-sell disputes,
   federal court jurisdictional disputes, and debtor-creditor commercial litigation
            Highly experienced in all aspects of bankruptcy cases filed under every Chapter,
   especially in adversary proceedings: representing creditors, debtors, asset buyers, creditors’
   committees, individual principals, their spouses, partners of debtors, counterparties to agreements
   with Debtors in bankruptcy, and as special counsel for judgment creditors or for debtors seeking
   to settle based on avoiding inevitable effect of hypothetical bankruptcy filings

   Prior Legal Positions: Law Clerk, A. D. Kahn, Chief Bankruptcy Judge, Atlanta (1979-1981);
   Associate, Kilpatrick & Cody, Atlanta, (1981-1983); Partner & Founder, Cox, Rodnick & Green,
   Austin (1983-2002); National Bankruptcy Counsel, KM Management Entities (1995-present; sole
   client, 2002-2009); Of Counsel, Greene & Markley, Portland (2009-2014); Of Counsel, Landye
   Bennett Blumstein, Portland (2014-2015)

   Summary of Types of Legal Matters Handled By Mr. Cox Over 40 Years: 1980-2020
            Current and Recent Representation:
            -Medford Oregon Landlord in The Men’s Wearhouse Chapter 11 case in Houston
   Bankruptcy Court [successful lease assumption obtained];
            -Major Portland Developer (Robert Sacks) Entities as Landlord of multiple restaurants
   during Covid [successful settlements with tenants, thereby allowing for sales of premises];
            -Non-profit Foundation of Human Understanding as Plaintiff/$25mm creditor in United
   States District Court in Eugene against former insider’s entities [pending, co-counsel with Perkins
   Coie, Portland];
            -Texas Investment entity in Austin Bankruptcy Court as asset buyer of trademarks and
   other intellectual property from Chapter 7 trustee for failed company [pending];
            -Pro Bono representation of IED-injured US Army Intelligence Captain as creditor in
   Heirloom Tiny Homes Chapter 11 in Portland [successful assumption of contract, resulting in
   delivery of client’s home];
            -AmeriCold Logistics (America’s largest publicly-traded REIT) as $1mm warehouse
   lien/UCC Article 7 creditor in Norpac Foods Chapter 11 in US Bankruptcy Court in Portland
   [client paid in full, including interest and attorneys’ fees];
            -Bidder for assets subject to stalking horse free & clear asset sale in North Pacific
   Canners (fka Norpac Foods) Chapter 11 case in Portland Bankruptcy Court [pending];
            -Canfor Forest Products (Vancouver BC) as $1,2mm vendor creditor of failed West Linn
   Paper Co and its affiliates in complex UCC Article 2 litigation in US District Court in Portland
   [settled favorably to client for cash payment];
            -Dell Finance (unit of Dell Computer, Austin), as $5.5mm creditor in Peak Web LLC
   Chapter 11 case in Portland [substantial cash dividend under true lease and financing lease claims
   relating to substantial equipment sales/leases];
            -Zayo Group (Boulder), as $500k creditor of Peak Web LLC [substantial cash dividend
   under administrative priority claim];
            -Representation of federal court parties regarding personal jurisdiction defenses,
   including recent successful representation of Medford-based Entertainment Radio Network in
   Medford Oregon US District Court in trademark infringement case against New York-based
   company, Time, Inc. [case favorably settled following favorable ruling on jurisdiction];

                                                                                           2|Page

Exhibit 2 - Page 2 of 6
                     Case 19-34517-dwh11            Doc 337       Filed 11/17/20
             -Representation of Management Buyout (MBO) of Care Payment Inc., subsidiary of
   Aequitas Investments, in SEC Receivership in US District Court in Portland;
             -Frequent representation of small Oregon businesses or their individual principals in out-
   of-court liquidations, with special attention to avoidance of fiduciary liability of individual
   principals;
             -Regular pro bono court-appointed representation of U S District Court former pro se
   parties, including recent representation of Defendant in near-frivolous copyright matter filed by
   NY Plaintiff, (Left Hand Productions v Karen May) which Mr. Cox obtained dismissal with
   prejudice;
             -Regular Expert Witness for Malpractice Insurance Defense Counsel (OSB PLF counsel)
   on Bankruptcy Law Matters and On Standard of Care in Legal Malpractice cases in Oregon;
             -Regular Advisor to Litigation Co-Counsel, Addressing Actual or Threatened Bankruptcy
   Filing(s) By Counterparties, Or Presentation of Hypothetical Bankruptcy Filing With Liquidation
   Analysis For Defendants in Mediation, including recent successful representation of local real
   estate developer as Defendant in multi-million dollar collection action under debt guaranty;
             -Distressed Entity Tax Planning, including preservation of NOLs for Reorganized
   Debtors in Chapter 11 and preservation of Sub-S status in connection with distressed entity
   restructure and relating to forgiveness of multi-million dollar debts owed by insiders;
             -Fraudulent Transfer cases, on behalf of litigation parties and in connection with
   proposed transactions: recently concluded representation of Gould Electronics as judgment
   creditor in US District Court in Los Angeles (Judge John Walter, Gould Electronics v NavCom
   Electronics) to recover payment of $40mm in corporate dividends from Judgment
   Debtor/Defendant NavCom’s 9 shareholders as constructive fraudulent transfers (case settled
   favorably for $26mm cash, following Mr. Cox’s deposition of audit partner at Ernst & Young,
   Los Angeles, regarding solvency issues for Judgment Debtor/Defendant);
             -Trademark Registrations with USPTO: representation of local automobile dealer
   (Northside Ford) in successful registration of ownership of words “Trucks. Just Trucks” as
   registered marks related to special services, and representation of hemp grower and CBD oil
   producer in one of the first CBD trademarks sought from USPTO (“Red Beard Farms”);
             -Sale and Purchase of Business Assets in federal receiverships and in bankruptcy cases,
   including development of NDA strategies, intellectual property license issues, taxations issues,
   due diligence issues, and buy-sell agreement trigger issues;
             -Individual Judgment creditor (J. McDonald) in Portland Chapter 11 case relating to
   distressed ISP in Pendleton (Wtechlink, Inc.—Wysocki case) [client paid in full by cash sale of
   claim to insider after Mr. Cox withdrew motion to appoint trustee];
             -Canadian vendor creditor (Herschel Supply, Vancouver BC) in involuntary Portland
   Chapter 11 filing (Dr. Bott LLC), involving ‘security consignment’ issues [all inventory
   recovered and returned to client];
             -Spouse of Insider principal affected by Oregon DOJ investigation of financially
   distressed Portland Marathon charitable entity [zero liability result];
             -Former part owner and arbitration award creditor (Michael Zoller) of large Medford boat
   manufacturer (Ameriflex Engineering), in Chapter 11 in Eugene Bankruptcy Court and US
   District Court in subordination adversary matter and three appeals related thereto [favorable
   ruling reported at In Re Ameriflex Engineering, 587 B.R. 108 (Bankr.D.Ore. 2018), aff’d, (D. Ore.
   2018)];
             Representation of Z Marine as creditor/plan proponent in Ameriflex Engineering as
   successful objector to large former insider proof of claim, generating In Re Penrod attorneys’ fees
   claims for Mr. Cox’s client against defeated creditor [pending];
             -Oregon-based Landlord in Mattress Firm National Chapter 11 in Delaware [client paid
   in full for all rent for remainder of term];


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            -$10mm judgment creditor Arland Keeton and related Redmond Airport entities in
   complex Chapter 7 case (Riemenschneider) for former partner involving multiple fraudulent
   transfer adversary proceedings [obtained pre-Answer dismissal of all claims];
            -Texas Municipality as Code Section 525 employer adversary matter Defendant in
   Tacoma Bankruptcy Court;
            -Kenyon International, as adversary proceeding Defendant related to Seaport Airlines
   bankruptcy In Portland, arising from insurance coverage dispute with Starr Indemnity
   [successfully obtained abstention order];
            -Representation of individual grass seed grower/farmer (Dean Hammond) as Debtor in
   Chapter 12 case, obtaining confirmed plan in Eugene Bankruptcy Court;
            -Representation of creditors in Chapter 11 cases nationally, including representation of
   major million-dollar judgment creditor (affiliate of KM Management) in San Diego Bankruptcy
   Court in Crowder Chapter 11 cases, involving the single largest tract of undeveloped land in San
   Diego County [client paid in full, plus all accrued interest and all attorneys’ fees];
            -Representation of non-Debtor insider (Kami Fraley) in multi-million dollar-asset
   Portland Chapter 11 case (Lori Diaz case) involving enforcement on behalf of Fraley as non-
   Debtor family member-LLC-owner as counterparty to LLC buy-sell provision [favorable buy-out
   result];
            -Frequent Advisor to Divorce Co-Counsel, Addressing Pending Bankruptcy or
   Businesses In Distress: recently representation of spouse of principal of Portland Chapter 11
   Debtor Peak Web LLC and spouse of principal of Portland Marathon charitable entity;
            -Frequent Counsel to Landlords in National Retail Bankruptcy Cases, including real
   estate partnerships affected by national bankruptcy filings, such as American Apparel, Kmart
   Corp. (Mr. Cox represented 12 landlords in that case, with locations in 10 States; half assumed,
   half rejected; rejection claims paid at 2X Section 506(b) statutory cap), Movie Gallery, Best
   Products, Levitz Furniture, Mattress Firm, The Mens’ Wearhouse, many involving lease
   assumption terms and other involving lease rejection claims, which were allowed in all such cases
   in excess of statutory cap of Section 502(b)(6), under now nationally-known procedures first
   ‘invented’ by Mr. Cox 25 years ago to circumvent the statutory cap;
            -Counsel to Asset Buyers and Distressed Entity Sellers, including ‘free and clear’ Section
   363 sales in Bankruptcy Court, in receiverships, and in UCC lien dispute litigation in District
   Court (including on behalf of Keeton-King Construction, Canfor Pulp, and Hardin-McGinnis
   Properties).
            Counsel to Over 15 Debtors-In-Possession with confirmed Chapter 11 plans:
            Legend Homes in Portland (with David Foraker), Cowboy Cable Television Company in
   Austin, Capital City Warehousing, Inc. in Austin, several Texas Software Companies, Apartment
   Project Partnerships in Texas and California, Office Building Partnerships in Montana and Texas
   (including Lake Austin Centre Joint Venture), Manufacturing Companies (including Nagel
   Manufacturing), a Texas Law Firm Partnership (Roberts & Roberts), a Texas Marine
   Construction Company (Marine Construction Inc.), an Austin Insurance Brokerage, a multi-state
   Automotive Body Repair Chain, Austin’s Most Famous Mexican Restaurant (Cuisines of Mexico
   Inc. dba Fonda San Miguel), a Large Operation Rancher, (Fred Schoeneberg), an Oregon Grass
   Seed Farmer (Dean Hammond).
            Lead Counsel in approximately 20 reported cases:
            Recent examples include In Re Ameriflex Engineering, 587 B.R. 108 (Bankr.D.Ore.
   2018)(represented former minority owner as arbitration award creditor); In Re Norris, 70 F.3d 27
   (5th Cir.1995)(represented bank creditor in successful 523 false financial statement adversary
   against individual physician Chapter 7 debtor); In Re Schoeneberg, 165 B.R. 963
   (Bankr.W.D.Tex.1993)(represented individual rancher as DIP, obtaining confirmed plan over
   objection of Farm Credit Bank);


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           -Special Counsel to Chapter 7 Debtors in complex adversary matters, including In Re
   Greenway, 71 F.3d 1177 (5th Cir.1996), cert. denied, 116 S.Ct. 2499 (1996), resulting in
   subsequent congressional amendment to Bankruptcy Code Section 523(a)(9)
           --Representation of Official Creditors’ Committees in Chapter 11 cases, in Georgia and
   in Texas, including commencement, as estate representative, of an involuntary bankruptcy against
   general partnership in which DIP was partner (Lake Travis Joint Venture), and including
   successful litigation on behalf of Committee over Debtor’s assertion of accountant-client
   privilege in In Re International Horizons, Inc., 14 B.R. 199 (Bankr.N.D.Ga.), aff’d 16 B.R. 484
   (N.D.Ga.), aff’d 689 F.2d 996 (11th Cir. 1982), cert denied as moot, (after denial of stay pending
   appeal by Justice Powell)

   Second Profession: Wine Writer, Wine Educator, Wine Valuation Consultant (1993-Present)
   -Over 500 published articles on wine in magazines and newspapers world-wide
   -2004 Nominee (one of three nationally), James Beard Foundation Award, Best American
           Magazine Wine Writer
   -Former Monthly Wine Columnist and Regular Wine Critic, Portland Monthly (2006-2011),
           Seattle Metropolitan (2009-2011), Austin American-Statesman (1993-2001), Austin
           Chronicle (1991-1993)
   -Former Regular Wine Writer: Practical Winery & Vineyard, (Santa Rosa), Northwest Palate,
           (Portland), Touring & Tasting (Napa), The Wine Report (Atlanta), Wine Press Northwest
           (Tri-Cities), Southern Exposure (Grants Pass), Oregon Wine Report (Portland), Medford
           Mail Tribune
   -Former Master of Wine Candidate, Institute of Masters of Wine, London
   -Lecturer, Wines of the World/How To Taste Wine, Southern Oregon University, Science of
           Wine Seminars
   -Regular Wine Contest Judge, Various Food & Wine Festivals in Oregon and in Texas
   -Consulting Expert, Wine Cellar Valuation, Divorces and Decedents’ Estates, (1996-present)

   Pro-Bono/Civic Activities
   Former or Current Board Member or Other Substantial Involvement:
   Portland Classic Wines Auction; St Andrews Legal Clinic Charity Wine Auction, Portland;
   Oregon Toxics Alliance, Eugene; Texas Hill Country Wine & Food Festival, Austin; KLRU
   Charity Wine Auction, Austin; Jackson County Library Foundation, Medford; Rogue Valley
   Citizens for Clean Air, Ashland (Mr. Cox is highly active in clean air matters, including regular
   conversations with Oregon DEQ)

   Hobbies And Personal Details
   Avid golfer: 12 handicap.
   Avid fly fisherman: fly-fished virtually every river in Oregon, Idaho, and Montana
           Avid Kayaker/Rafter: frequent whitewater floats on the Owyhee, North Umpqua (above
           Steamboat Creek), Far Upper Rogue (above Lost Creek Dam), Wild & Scenic Rogue,
           Wild & Scenic Illinois (from Kerby to Agness), Middle Fork Salmon (Idaho), South Fork
           Flathead (Montana, in “the Bob”), North Fork Smith (Calif), McCloud (Calif),
           Sacramento (Calif), and Colorado (Grand Canyon) Rivers
   Recent extended trips:
           South Africa/Botswana/Zambia/Zimbabwe, Vietnam/Cambodia, Wyoming/Montana
           National Parks, Hungary/Slovenia, Galapagos Islands/Quito/Cuenca,
           BC/Vancouver/Okanagan, Cuba, Costa Rica, France/Belgium,
           Argentina/Uruguay/Patagonia/Fitz Roy Range Hike, Philadelphia/Washington DC.,
           ‘Chinese Wall’ Hike, New Orleans/Cajun Country, 2,500 Miles Round Trip Highway 1
           to Santa Barbara (return via Yosemite and Tahoe, just before coronavirus shutdown)

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   Contact Information
   Office Telephone: 503 535-0611 Cell Telephone: 541 944-7788
   Office: Sixth + Main Building, 1050 SW Sixth Ave., Suite 1100, Portland, OR 97204
   Email: conde@lawofficeofcondecox.com




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                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF OREGON
In re                                  )             19-34517-dwh11
PPV, Inc. and                          ) Case No. ________________
                                                     19-34518-dwh11
Bravo Environmental NW, Inc.,          )
                                       ) RULE 2014 VERIFIED STATEMENT
Debtor(s)                              ) FOR PROPOSED PROFESSIONAL
                                            (Special Counsel - Conde T. Cox)
Note: To file an amended version of this statement per ¶19, file a fully completed amended Rule 2014
statement on LBF #1114 and clearly identify any changes from the previous filed version.

 1. The applicant is not a creditor of the debtor except:
        None

 2. The applicant is not an equity security holder of the debtor.

 3. The applicant is not a relative of the individual debtor.

 4. The applicant is not a relative of a general partner of the debtor (whether the debtor is an individual,
    corporation, or partnership).

 5. The applicant is not a partnership in which the debtor (as an individual, corporation, or partnership)
    is a general partner.

 6. The applicant is not a general partner of the debtor (whether debtor is an individual, corporation, or
    partnership).

 7. The applicant is not a corporation of which the debtor is a director, officer, or person in control.

 8. The applicant is not and was not, within two years before the date of the filing of the petition, a
    director, officer, or employee of the debtor.

 9. The applicant is not a person in control of the debtor.

10. The applicant is not a relative of a director, officer or person in control of the debtor.

11. The applicant is not the managing agent of the debtor.

12. The applicant is not and was not an investment banker for any outstanding security of the debtor;
    has not been, within three years before the date of the filing of the petition, an investment banker
    for a security of the debtor, or an attorney for such an investment banker in connection with the
    offer, sale, or issuance of a security of the debtor; and is not and was not, within two years before
    the date of the filing of the petition, a director, officer, or employee of such an investment banker.

13. The applicant has read 11 U.S.C. §101(14) and §327, and FRBP 2014(a); and the applicant’s firm
    has no connections with the debtor(s), creditors, any party in interest, their respective attorneys and
    accountants, the United States Trustee, or any person employed in the office of the United States
    Trustee, or any District of Oregon Bankruptcy Judge, except as follows:
        None




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14. The applicant has no interest materially adverse to the interest of the estate or of any class of
    creditors or equity security holders.

15. Describe details of all payments made to you by either the debtor or a third party for any services
    rendered on the debtor's behalf within a year prior to filing of this case:
     None




16. The debtor has the following affiliates (as defined by 11 U.S.C. §101(2)). Please list and explain
    the relationship between the debtor and the affiliate:
     PPV, Inc. is a 100% owner of Bravo Environmental NW, Inc. James Thuney owns 53%
     of the shares of PPV, Inc. and Joseph Thuney owns 24% of the shares of PPV, Inc.




17. The applicant is not an affiliate of the debtor.

18. Assuming any affiliate of the debtor is the debtor for purposes of statements 4-13, the statements
    continue to be true except (list all circumstances under which proposed counsel or counsel's law
    firm has represented any affiliate during the past 18 months; any position other than legal counsel
    which proposed counsel holds in either the affiliate, including corporate officer, director, or
    employee; and any amount owed by the affiliate to proposed counsel or its law firm at the time of
    filing, and amounts paid within 18 months before filing):
     N/A




19. The applicant hereby acknowledges that he/she has a duty during the progress of the case to keep
    the court informed of any change in the statement of facts which appear in this verified statement.
    In the event that any such changes occur, the applicant immediately shall file with the court an
    amended verified statement on LBF #1114, with the caption reflecting that it is an amended Rule
    2014 statement and any changes clearly identified.

THE FOLLOWING QUESTIONS NEED BE ANSWERED ONLY IF AFFILIATES HAVE BEEN LISTED
IN STATEMENT 16.

20. List the name of any affiliate which has ever filed bankruptcy, the filing date, and court where filed:
     N/A




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21. List the names of any affiliates which have guaranteed debt of the debtor or whose debt the debtor
    has guaranteed. Also include the amount of the guarantee, the date of the guarantee, and whether
    any security interest was given to secure the guarantee. Only name those guarantees now
    outstanding or outstanding within the last 18 months:
    See Attached Continuation Statement No. 21.




22. List the names of any affiliates which have a debtor-creditor relationship with the debtor. Also
    include the amount and date of the loan, the amount of any repayments on the loan and the
    security, if any. Only name those loans now outstanding or paid off within the last 18 months:
    None.




23. List any security interest in any property granted by the debtor to secure any debts of any affiliate
    not covered in statements 20 and 21. List any security interest in any property granted by the
    affiliate to secure any debts of the debtor not covered in statements 21 and 22. Also include the
    collateral, the date and nature of the security interest, the name of the creditor to whom it was
    granted, and the current balance of the underlying debt:
    See Attached Continuation Statement No. 23.




24. List the name of any affiliate who is potentially a "responsible party" for unpaid taxes of the debtor
    under 26 U.S.C. §6672:
    James Thuney and Joseph Thuney.




I verify that the above statements are true to the extent of my present knowledge and belief.
Conde T. Cox does not have knowledge as to
Statement Nos. 16 and 20 - 24.
                                                               ________________________________
                                                               /s/ Conde T. Cox
                                                                              Applicant

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Continuation Statement No. 21:

 Applicable    Guarantor       Guaranty     Amount of        Date of  Security
   Debtor                      Creditor      Guaranty       Guaranty   Interest
 PPV, Inc.  Bravo             Cofactor      None – Paid      2/9/18  UCC Filing
 (“PPV”)    Environmental                      in full               – pending
            NW, Inc.                                                 termination
            (“Bravo”)
 PPV        James Thuney      MetaBank        Unlimited      7/27/17   None
 PPV        James Thuney      Libertas      Unconditional    9/23/19   None
                              Funding        guaranty of
                              LLC           performance
 PPV          James Thuney    EBF           Unconditional    8/5/19    None
                              Partners,      guaranty of
                              LLC           performance
 PPV          James Thuney    Retail        Unconditional    2/21/19   None
                              Capital LLC    guaranty of
                                            performance
 PPV          Joseph Thuney   MetaBank        Unlimited      7/27/17   None
 PPV          Joseph Thuney   Libertas      Unconditional    9/23/19   None
                              Funding        guaranty of
                              LLC           performance
 PPV          James Thuney    EBF           Unconditional    8/5/19    None
                              Partners,      guaranty of
                              LLC           performance
 PPV          James Thuney    Retail        Unconditional    2/21/19   None
                              Capital LLC    guaranty of
                                            performance
 PPV*         James Thuney    W.L.P.        Unconditional   03/19/18   None
                              Corporation    guaranty of
                                            performance




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Continuation Statement No. 23:

PPV and Bravo are joint debtors on an equipment finance agreement and a line of
credit with Metabank. Each debtor pledged all of their respective assets as collateral for
those loan obligations. The loan and security agreements were entered into on or about
July 27, 2017. As of the petition date, the current balance on the equipment finance
agreement was $2,812,072.34, and the current balance on the line of credit was
$1,103,338.00.

While not related to an affiliate (as that term is defined in 11 U.S.C. § 101(2)), PPV and
Bravo both guaranteed a debt to Bellridge Capital, LLC (“Bellridge”) and provided a
grant of a security interest in connection with the guaranties. The primary obligor on the
debt to Bellridge is Essential Services Group, Inc. (“ESG”). ESG had agreed to
purchase the shares of Bravo from PPV for the sum of Six Million Dollars
($6,000,000.00). The guaranties and security agreements were dated October 4, 2018,
and the security interest covers all assets of PPV and Bravo along with PPV’s equity
interests in Bravo.

Bravo also guaranteed a debt to Leonite Capital, LLC (“Leonite”) and provided a grant
of a security interest in connection with the guaranty. The primary obligor on the debt to
Leonite is ESG. The guaranty and security agreement were dated August 30, 2018,
and the security interest covers all assets of Bravo.

PPV also guaranteed a debt to W.L.P. Corporation (“WLP”) and provided a pledge of
the stock in Bravo in connection with the guaranty. The primary obligor on the debt to
WLP is ESG. The guaranty and stock pledge agreement were dated March 19, 2018.




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                                CERTIFICATE - TRUE COPY

DATE:             November 16, 2020

DOCUMENT:         APPLICATION OF DEBTORS-IN-POSSESSION FOR AUTHORITY
                  TO EMPLOY SPECIAL COUNSEL (Conde T. Cox); and RULE 2014
                  VERIFIED STATEMENT FOR PROPOSED PROFESSIONAL (Conde
                  T. Cox)

       I hereby certify that I prepared the foregoing copy of the foregoing named
document and have carefully compared the same with the original thereof and it is a
correct copy therefrom and of the whole thereof.

                                CERTIFICATE OF SERVICE

        I hereby certify that I served a copy of the foregoing on:

 PPV, Inc.                               Conde T. Cox
 Attn: Jospeh J. Thuney                  Law Office of Conde Cox
 4927 NW Front Ave.                      1050 SW 6th Ave. Ste. 1100
 Portland, OR 97201                      Portland, OR 97204

 Bravo Environmental NW, Inc.
 Attn: Joseph J. Thuney
 4927 NW Front Ave.
 Portland, OR 97201

by mailing a copy of the above-named document to each of them in a sealed envelope,
addressed to each of them at his or her last known address. Said envelopes were
deposited in the Post Office at Portland, Oregon, on the above date, postage prepaid.

      I hereby certify that the foregoing was served on all CM/ECF participants through
the Court's Case Management/Electronic Case File system on the date set forth below.

 Dated: November 16, 2020               VANDEN BOS & CHAPMAN, LLP



                                        By:/s/Douglas R. Ricks
                                           Douglas R. Ricks, OSB #044026
                                           Of Attorneys for Debtors-in-Possession




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